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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 16-761V
                                    (Not to be published)

*************************
                           *
KIMBERLY BEINING,          *
                           *
               Petitioner, *                          Filed: January 23, 2017
                           *
          v.               *                          Decision by Stipulation; Influenza
                           *                          Vaccine; Bell’s Palsy
SECRETARY OF HEALTH AND    *
HUMAN SERVICES             *
                           *
               Respondent. *
                           *
*************************


                                            DECISION

HASTINGS, Special Master.

        This is an action seeking an award under the National Vaccine Injury Compensation
Program1 on account of an injury suffered by Kimberly Beining. On January 19, 2017, counsel
for both parties filed a Stipulation, stipulating that a decision should be entered granting
compensation. The parties have stipulated that Petitioner shall receive the following
compensation:

       ●       A lump sum of $105,000.00, in the form of a check payable to Petitioner,
               representing compensation for all damages that would be available under
               42 U.S.C. §300aa-15(a).

        Under the statute governing the Program, as well as the “Vaccine Rules” adopted by this
court, the special master must now enter a decision endorsing that stipulation, and the clerk must
enter judgment, in order to authorize payment of the award. See § 300aa-12(d)(3)(A) and (e)(3);
§ 300aa-13(a); Vaccine Rules 10(a), 11(a).2


1
  The applicable statutory provisions defining the Program are found at 42 U.S.C. § 300aa-10
et seq. (2012 ed.). Hereinafter, for ease of citation, all "§" references will be to 42 U.S.C. (2012
ed.).
2
  The “Vaccine Rules of the United States Court of Federal Claims” are found in Appendix B of
the Rules of the United States Court of Federal Claims.
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       I have reviewed the file, and based on that review, I conclude that the parties’ stipulation
appears to be an appropriate one. Accordingly, my decision is that a Program award shall be
made to Petitioner in the amount set forth above. In the absence of a timely-filed motion for
review of this Decision, the clerk shall enter judgment in accordance herewith.

IT IS SO ORDERED.


                                                          /s/ George L. Hastings, Jr.
                                                              George L. Hastings, Jr.
                                                              Special Master
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